                                                           Case 19-23123-LMI                                  Doc              Filed 04/07/20                     Page 1 of 3
      ill i            is i o                 io       oi            i           s
  10 (Supplement 2 (12 11                                          (pos publi        io
      e t         1            Mart L. Ta lor
      e t         2
 (Sp u e                  ln

      n te St te                    n upt              ut           t e    o t       r                             t       t      lor a
                                                                                                                               (St te
         e num e                                           LM




     l   m 10S2
Notice of Postpetition Mortg ge                                                                                                ees                    penses                n                           rges
If the debtor’      po i                                   s o p      o pos p i io o                                u l i s ll    s o ou l i                        s   u        b           s    u i   i        s i
     b o s p i ip l si                                        ou us us   is o    o i                             oi o          s    p s s                                   si       u                      b          up
 ili         ou ss                                          o    bl  i s      bo o                               i s        b o s p i ip l si
 il           is o                  s       suppl                    o ou p oo o               l i     See       n upt           ule 002 1

                                                       a              Loa            r               LL      a     la ar
                      o                 io         L       t         La lt           o     a                                                         ou     l i     o (         n        n

       s                 i is   n num e                                   uu et
      ent               t e e t ’    unt

      o s is o i                              suppl                        p io      oi          o pos p i io                   s
       p s s                                      s
 �
 �                e             te          t el       tn t e


 P rt                          te        i e Postpetition                   ees           penses          n            rges

         i                           s         p s s                 d h r e      rred o the debtor’                           ort       e       o t fter the et t o                  f ed o o i lu
      s o                      ou            isbu s                  so        ou s p iousl i        i                          i        oi       il i   is s                        ou    s p iousl
      pp o                                  ou i i                        pp o l i p        s s                                                   ou    si u

                   s ip io                                                                                                      si       u                                                                  ou

  1               te             e                                                                                                                                                                (1

  2                n u           ent un                ( S          ee                                                                                                                            (2

              tt ne             ee                                                                                                                                                                (

                  ln       ee           n      ut              t                                                                                                                                  (

                  n upt                                l m ee                                                                                                                                     (              .
         Appraisal/Bro                       r’s pri               p n n ee                                                                                                                       (

                   pe t n pe t n ee                                                                                                                                                               (

                                n e (n n e                                                                                                                                                        (

            n u n e                          n e (n n e                                                                                                                                           (

 10                pe t p e e                  t n e pen e                 Spe                                                                                                                   (10

 11               t e          Spe             la                                                                                                                                                (11             .
 12               t e          Spe             r           a al            o               or                                                                                                    (12             .
 1                t e          Spe                                                                                                                                                               (1

 1                t e          Spe                                                                                                                                                               (1



   e e t                         t u tee m                          llen e  et e t e ee e pen e                     n                e       u l te       e e u e t     ep
 See 11 S                           1 22( (                        n     n upt    ule 002 1


              l           m 10S2                                                  oi       o         os p i io         o                     s   p    s s                   s                                          p    e
                                                    Case 19-23123-LMI                                     Doc           Filed 04/07/20                  Page 2 of 3


                      Mart L. Ta lor                                                                                                                                             LM
e t        1                                                                                                                             e num e (i
                           t        me                       le   me                  t       me




P rt                      ign           ere


    e pe n mplet n t                                                   t e mu t           n t S n n p nt                 u n me n            u t tle            n         n   t te    u         e   n
 telep ne num e
                                         i

 �                 mt e        e t
 �                 mt e r               i or’s a         ori            a


               l     u                   p      l o p u                                        i o     io p o i             i       is l i        is       u              o       o       b s
 o                   o l                      i o   io                               so         bl b li



                                                                                                                                      te
                           S n tu e



                                                  r La            a                                                                                    t or     r     tor
      nt                                                                                                                             tle
                                    t        me                                le    me                   t    me



      mp n
                                l r                      t        LL


                                                              o t        oa         . .            t
           e
                               um e                                   St eet
                                    tla ta
                                t                                                                      St te               e




  nt           tp    ne    (                                                                                                         m l     la        a       al r           t . o




           l        m 10S2                                                     oi         o        os p i io        o           s    p     s s                        s                             p   e
                        Case 19-23123-LMI      Doc            Filed 04/07/20             Page 3 of 3




                                      CERT     C TE                   ER        CE

                  ERE          CERT   th t t                      t             th                t    P t tt
         t        F        E          Ch                                   t                     S        t

     t                     t


                                               ER     CE               T

    E T R

     t
11                1 1 St       t
              F      1

    E T R    TT R E
       E ECTR   C   T CE
C
C

C             TER  TR TEE
             E ECTR   C  T CE
                        h
             1    h1


                                                          t


                                                                                F                1 1
                                                                      Pt        P
                                                     tt                    S       C   t
                                                    F t           P             tC t
                                                              P                tR    E S t
                                                      t       t
                                                    Ph                 1             1
                                                    F                           1
                                                    E                                       t




                                                          1
PROOF OF SERVICE
